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                                           No.19-1738
                                     Filed: February 21, 2020

                                               )
 NATHAN HILL,                                  )
                                               )
                        Plaintiff,             )
                                               )
            V.                                 )
                                               )
 THE UNITED STATES,                            )
                                               )
                        Defendant.             )
_ _____ _ _ ___ _ ___                          )

   ORDER FILING PLAINTIFF'S FEBURARY 18, 2020 FILING BY THE COURT'S
       LEAVE AND DISMISSING CASE FOR FAILURE TO PROSECUTE

         On November 6, 2019, plaintiff, Nathan Hill, proceeding pro se, filed a complaint and an
incomplete application to proceed informa pauperis with this Court. On December 19, 2019,
consistent with Rule 77 .1 ( c) of the Rules of the Court of Federal Claims ("RCFC"), the Court
ordered the plaintiff to "either pay the full $400.00 filing fee by money order or check or submit
a complete application to proceed informa pauperis within thirty (30) days of this Order."
Specifically, the Comi requested from plaintiff a certified copy of his trust fund statement or
institutional equivalent for the six-month period immediately preceding the filing of his
Complaint as directed in 28 U.S.C. § 1915(a)(2) (2018).

        On February 18, 2020, plaintiff filed what appears to be an additional incomplete
application to proceed informa pauperis, in which plaintiff again failed to include a ce1iified
copy of plaintiff's trust fund statement or institutional equivalent. See 28 U.S.C. § 1915(a)(2).
Though plaintiff submitted that filing after the deadline set forth in the Comi's December 19,
2019 Order, for good cause shown, the Comt accepts that filing. Additionally, the Clerk is
directed to FILE BY LEAVE plaintiff's February 18, 2020 filing.

        To date, the Court has not received a ce1iified copy of plaintiff's trust fund statement. As
such, the Court has no choice but to DISMISS plaintiff's case without prejudice for failure to
prosecute pursuant to RCFC 41 (b). The Clerk is hereby directed to enter judgment consistent
with this Order.

       IT IS SO ORDERED.

                                                     /4d~
                                                     Loren A. Smith, Senior Judge
